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                          UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

PATRICIA KENNEDY,

                        Plaintiff,

v.                                                            Case No: 6:17-cv-605-Orl-41GJK

RHODA SOLANO and SOLANO
ENTERPRISES, INC.,

                        Defendants.


                                            ORDER
          This cause came on for consideration without oral argument on the following motion filed

herein:

          MOTION:       DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES AND
                        COSTS (Doc. No. 59)

          FILED:        February 1, 2018



          THEREON it is ORDERED that the motion is DENIED.

          On January 18, 2018, United States District Judge Carlos E. Mendoza dismissed this case

with prejudice, finding that the Court lacked subject matter jurisdiction over the case. Doc. No.

55. On January 22, 2018, Plaintiff filed a notice of appeal. Doc. No. 56. On February 1, 2018,

Defendants filed a motion for attorneys’ fees and costs (the “Motion”). Doc. No. 59.

          There is a pending appeal of Judge Mendoza’s January 18, 2018 order. Doc. No. 56. It does

not appear that consideration of the appeal would be better informed if accompanied by a decision

on attorneys’ fees. Moreover, the Eleventh Circuit’s determination of Plaintiff’s appeal may affect

the Court’s consideration of the Motion. Accordingly, the undersigned finds it appropriate to deny
CaseCase
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the Motion without prejudice. See Comments to 1993 Amendments to Fed. R. Civ. P. 58.

Defendants may renew the Motion, if appropriate, after appellate proceedings have concluded and

after conferring with Plaintiff in a good faith effort to resolve the issues raised in the Motion.

       Accordingly, the Motion (Doc. No. 59) is DENIED.

       DONE and ORDERED in Orlando, Florida on February 5, 2018.




Copies furnished to:
Counsel of Record
Unrepresented Parties




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